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               8
                                       UNITED STATES DISTRICT COURT
               9
                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
              10
              11
                   PHILLIP MADISON JONES,                     Case No. 2:21-cv-05890-FWS-SK
              12
                                     Plaintiff,               The Hon. Fred W. Slaughter
              13
                               vs.                            1. NOTICE OF MOTION AND
              14                                              MOTION OF CREATIVE ARTISTS
                 TWENTIETH CENTURY FOX FILM                   AGENCY, LLC FOR SUMMARY
              15 CORPORATION d/b/a 20th CENTURY               JUDGMENT OR, IN THE
                 STUDIOS; THE WALT DISNEY                     ALTERNATIVE, SUMMARY
              16 COMPANY; 20th CENTURY                        ADJUDICATION; MEMORANDUM
                 STUDIOS, INC.; CREATIVE                      OF POINTS AND AUTHORITIES
              17 ARTISTS AGENCY, LLC; RT
                 FEATURES; RT FEATURES U.S.                   2. NOTICE OF JOINDER IN
              18 LLC; JAMES GRAY and ETHAN                    MOTION FOR SUMMARY
                 GROSS,                                       JUDGMENT, OR, IN THE
              19                                              ALTERNATIVE, PARTIAL
                           Defendants.                        SUMMARY JUDGMENT, OF
              20                                              DEFENDANTS THE WALT
                                                              DISNEY COMPANY, TWENTIETH
              21                                              CENTURY FOX FILM
                                                              CORPORATION, AND 20TH
              22                                              CENTURY STUDIOS, INC. ON
                                                              COUNT 4 OF FOURTH AMENDED
              23                                              COMPLAINT
              24                                              3. NOTICE OF JOINDER IN
                                                              MOTION FOR SUMMARY
              25                                              JUDGMENT, OR, IN THE
                                                              ALTERNATIVE, PARTIAL
              26                                              SUMMARY JUDGMENT, OF
                                                              DEFENDANTS JAMES GRAY,
              27                                              ETHAN GROSS AND RT
                                                              FEATURES U.S., LLC ON COUNTS
              28                                              ONE THROUGH THREE OF
                   2811537.8
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               1                                         FOURTH AMENDED COMPLAINT
               2                                         Filed Concurrently with Statement of
                                                         Uncontroverted Facts and Conclusions
               3                                         of Law; Declarations of Roeg
                                                         Sutherland, Todd Feldman, John
               4                                         Garvey, Wendy Packard, Jeremiah
                                                         Reynolds, and Zachary Elsea;
               5                                         [Proposed] Judgment
               6                                         Judge: Hon. Fred Slaughter
                                                         Date: July 13, 2023
               7                                         Time: 10:00 a.m.
                                                         Crtrm.: 10D
               8
                                                         Trial Date:       February 13, 2024
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               1 TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
               2        PLEASE TAKE NOTICE that on July 13, 2023, at 10:00 a.m., or as soon
               3 thereafter as counsel may be heard, in the courtroom of the Honorable Fred
               4 Slaughter, located in the United States Courthouse, 411 West Fourth Street, Santa
               5 Ana, CA 92701-4516, Creative Artists Agency, LLC (“CAA”) will and hereby does
               6 move this Court for Summary Judgment, or, in the alternative, Summary
               7 Adjudication.
               8        This Motion is made upon the following grounds: Plaintiff Phillip Madison
               9 Jones (“Jones”) has failed to produce evidence to create a dispute of material fact
              10 supporting his claims of copyright infringement and breach of contract against
              11 CAA. The undisputed facts instead show that Jones cannot establish his claims
              12 against CAA at trial. CAA is therefore entitled to summary judgment in its favor on
              13 all claims pursuant to Federal Rule of Civil Procedure 56.
              14        PLEASE TAKE FURTHER NOTICE that on the same date, time, and place
              15 specified above, CAA will and does hereby join in the Motion for Summary Judgment
              16 under Federal Rule of Civil Procedure 56 of defendants The Walt Disney Company,
              17 Twentieth Century Fox Film Corporation, and 20th Century Studios, Inc.
              18 (collectively, the “Distributor Defendants”) on Count Four of Jones’s Fourth
              19 Amended Complaint on the grounds that these claims as alleged against CAA are also
              20 unsupported by substantial evidence for the same reasons set forth in the Distributor
              21 Defendants’ motion.
              22        PLEASE TAKE FURTHER NOTICE that on the same date, time, and place
              23 specified above, CAA will and does hereby join in the Motion for Summary Judgment
              24 under Federal Rule of Civil Procedure 56 of defendants James Gray, Ethan Gross, and
              25 RT Features U.S., LLC (collectively, the “Writer Defendants”) on the First through
              26 Third Counts of Jones’s Fourth Amended Complaint on the grounds that these claims
              27 as alleged against CAA are also unsupported by substantial evidence for the same
              28 reasons set forth in the Writer Defendants’ motion.
                                                           1
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               1        This Motion and Joinder is based on this Notice, the attached Memorandum
               2 of Points and Authorities, Statement of Uncontroverted Facts and Conclusions of
               3 Law, the Declarations of Roeg Sutherland, Todd Feldman, John Garvey, Wendy
               4 Packard, Jeremiah Reynolds, and Zachary Elsea, filed concurrently herewith, all of
               5 the pleadings, files, and records in this proceeding, all other matters of which the
               6 Court may take judicial notice, and any argument or evidence that may be presented
               7 to or considered by the Court prior to its ruling.
               8        CAA complied with Local Rule 7-3 prior to filing this Motion. Counsel for
               9 CAA, as well as counsel for the Distributor Defendants and the Writer Defendants,
              10 contacted Jones’s counsel of record numerous times requesting to schedule a meet
              11 and confer to discuss their motions for summary judgment. (Declaration of Jeremiah
              12 Reynolds ¶¶ 3-5.) However, Jones’s counsel refused to meet and confer despite
              13 Defendants’ counsel’s many requests to do so. (Id.)
              14
              15 DATED: May 31, 2023                         EISNER, LLP
              16
              17
                                                       By:
              18
                                                             JEREMIAH REYNOLDS
              19                                             Attorneys for Defendant,
              20                                             Creative Artists Agency, LLC

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               1                  MEMORANDUM OF POINTS AND AUTHORITIES
               2 I.        INTRODUCTION
               3           This case presents a fact pattern that is familiar in the case law, particularly of
               4 this district. The scenario is as follows: a creative professional in the entertainment
               5 industry submits a work to a large organization such as a studio or talent agency.
               6 The project never materializes. Sometime later, the individual sees a publicly
               7 released work that they believe is similar to theirs, and they learn that the work has
               8 some connection—however attenuated—to the entity to which they pitched their
               9 idea. The individual then jumps to the conclusion that their work was copied, and
              10 sues everyone involved regardless of whether they have any evidence whatsoever to
              11 support their claims.
              12           In the multiple published opinions decided under this fact pattern, as in this
              13 case, discovery fails to produce any evidence that supports the plaintiff’s conjecture.
              14 Discovery reveals that the produced work was in fact developed independently and
              15 before the talent agency’s receipt of the plaintiff’s work. Discovery also reveals that,
              16 critically, the individuals at the defendant entity who received the allegedly
              17 infringed work had no involvement in or connection to the allegedly infringing
              18 work, and never shared the plaintiff’s work with anyone who did. That was the
              19 situation presented in Bernal v. Paradigm Talent & Literary Agency, 788 F. Supp.
              20 2d 1043 (C.D. Cal. 2010) (granting summary judgment in favor of talent agency), as
              21 well as a number of other cases, and it is the posture in which this case is presented
              22 on summary judgment.1
              23           What those cases also have in common is that the defendants all prevailed on
              24 summary judgment. To support a claim of copyright infringement “in the absence of
              25 direct evidence of copying,” a plaintiff must “show[] that the defendant had access
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                       In Bernal, Paradigm Talent Agency “packaged” the allegedly infringing work,
              28       while it is undisputed here that CAA did not “package” Ad Astra. (SUF ¶ 19.)
                                                                1
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               1 to the plaintiff’s work and that the two works share similarities probative of
               2 copying.” Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d
               3 1051, 1064 (9th Cir. 2020). “In order to support a claim of access”—and avoid
               4 summary judgment—“a plaintiff must offer ‘significant, affirmative and probative
               5 evidence’” of access. Bernal, 788 F. Supp. 2d at 1054. In the context of a plaintiff’s
               6 submission of an allegedly infringed work to a talent agency or other similar entity,
               7 “to avoid summary judgment, a plaintiff must show that he submitted his work to . .
               8 . a person who (1) has supervisory responsibility for the allegedly infringing project,
               9 (2) contributed ideas and materials to it, or (3) worked in the same unit as the
              10 creators.” Id. at 1056.
              11           Plaintiff Phillip Madison Jones’s (“Jones”) copyright claims against Creative
              12 Artists Agency, LLC (“CAA”) fail because Jones can produce no evidence that the
              13 individuals at CAA—two agents and one of their assistants—who received the
              14 submission of Jones’s script, Cosmic Force, had any involvement with Ad Astra, the
              15 allegedly infringing work, or shared Cosmic Force with anyone who did. Moreover,
              16 the undisputed evidence shows that the three CAA agents who did interact with Ad
              17 Astra’s director and co-writer (1) never had access to Cosmic Force, (2) never read
              18 or discussed Cosmic Force with any of the three different individuals at CAA who
              19 did have access to it, and (3) had never heard of Cosmic Force before Jones brought
              20 his claims against CAA.2 Under Bernal and other apposite case law, Jones’s claims
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                   2
              22       This is entirely unsurprising because Ad Astra and Cosmic Force are not
                       substantially similar, as Defendants The Walt Disney Company, Twentieth
              23       Century Fox Film Corporation, and 20th Century Studios, Inc. (collectively, “the
              24       Distributor Defendants”) conclusively demonstrate in their motion for summary
                       judgment. Additionally, the motion for summary judgment filed by RT Features
              25       U.S., LLC, James Gray, and Ethan Gross (collectively, the “Writer Defendants”)
              26       thoroughly addresses the independent creation of Ad Astra and demonstrates that
                       by the time CAA first received a copy of Cosmic Force on November 10, 2015,
              27       the bulk of key creative work on Ad Astra had already been accomplished and
              28       embodied in drafts of the screenplay. Accordingly, rather than reiterate those
                                                              2
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               1 must fail on summary judgment.
               2        Jones’s claims also fail for a second, independent reason. Jones’s claims
               3 against CAA are predicated entirely on Jones’s baseless allegations, made only on
               4 information and belief, that CAA “packaged” Ad Astra, that CAA had the right and
               5 ability to supervise and control Ad Astra’s production, and that CAA financed,
               6 produced, and conducted sales of Ad Astra. (Fourth Amended Complaint (“FAC”)
               7 ¶¶ 13-14.) These factual allegations—which would be required to support a claim of
               8 direct, contributory, or vicarious copyright infringement—are entirely false, and
               9 Jones can adduce no evidence to support them. Instead, the evidence shows that
              10 CAA’s involvement in Ad Astra was limited to representing one of its co-writers
              11 and a few actors involved in the project. (SUF ¶¶ 18-23.)
              12        Accordingly, Jones’s claim against CAA for direct infringement fails because
              13 CAA did not engage in any volitional conduct that infringed on any right owned by
              14 Jones. See Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 666 (9th Cir. 2017).
              15 Jones’s claim for contributory infringement fails because Jones can show no
              16 knowledge of infringement on CAA’s part nor any volitional conduct by CAA that
              17 materially contributed to any infringement by any other Defendants. Id. at 670. And
              18 Jones’s claim for vicarious infringement fails because the undisputed facts show that
              19 CAA had no right to supervise or control the creation or substance of Ad Astra. See
              20 Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004) (plaintiff must show that
              21 defendant “has the right and ability to supervise” the infringing activity). Simply
              22 put, CAA’s representation of individuals involved in the creation of Ad Astra cannot
              23 alone support any variety of copyright infringement claim.
              24        Jones’s implied contract claim fails for substantially the same reasons: CAA
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              26
                    arguments here, CAA formally joins in the motions for summary judgment of the
              27    Distributor Defendants and the Writer Defendants, and focuses this brief on
              28    separate legal issues that are all independently fatal to Jones’s claims.
                                                            3
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               1 cannot have breached any implied contract to compensate Jones for use of his ideas
               2 when the undisputed facts show that CAA did not use those ideas. And to the extent
               3 that Jones alleges CAA breached some confidentiality obligation and shared Cosmic
               4 Force with another defendant, the undisputed facts demonstrate the opposite:
               5 Cosmic Force was shelved and never circulated within or outside of CAA beyond
               6 its original recipients.
               7           Finally, notwithstanding the above substantive arguments, Jones has forfeited
               8 his case by failing to timely respond to basic, foundational requests for admission,
               9 as described below. See Fed. R. Civ. P. 36(a)(3). Jones initiated this case, and it is
              10 his responsibility to comply with the Federal Rules of Civil Procedure or otherwise
              11 suffer their stated consequences. The Court therefore can and should grant summary
              12 judgment in CAA’s favor on this basis alone.
              13           To summarize, Jones has had nearly two years to conduct discovery against
              14 CAA and he has no evidence to support his baseless allegations against CAA. Jones
              15 should have voluntarily dismissed CAA from the case long ago, but he has
              16 stubbornly refused to do so. CAA therefore respectfully requests that the Court enter
              17 summary judgment in CAA’s favor and dismiss CAA from this action.3
              18 II.       STATEMENT OF FACTS
              19           A.     CAA Received The Completed Draft Of Ad Astra Before Plaintiff
              20                  Ever Sent CAA Cosmic Force
              21           CAA is a talent agency representing actors, directors, writers, producers,
              22 musical artists, and others in film, television, music, sports, digital media, and other
              23 industries. (SUF ¶ 1.)
              24
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                   3
              26       While CAA believes there is ample basis to support summary judgment of all
                       claims in CAA’s favor, CAA requests, in the alternative, summary adjudication in
              27       CAA’s favor should the Court find that disputed issues of material fact remain as
              28       to some, but not all, of Jones’s causes of action.
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               1        In November 2013, Defendants James Gray and Ethan Gross transmitted a
               2 copy of the Ad Astra screenplay to CAA agent Roeg Sutherland. (SUF ¶ 3.) Gray
               3 and Gross transmitted another iteration of Ad Astra to Sutherland and fellow CAA
               4 agents Todd Feldman and John Garvey on May 22, 2015, at which point it was
               5 uploaded to CAA’s repository, the Literary Library System. (SUF ¶ 4.)
               6        Jones asserts that he completed the Cosmic Force screenplay in the fourth
               7 quarter of 2014. (FAC ¶¶ 22, 49.) However, Jones concedes that the first time
               8 anyone discussed Cosmic Force with anyone at CAA was on November 10, 2015—
               9 approximately two years after CAA received the November 2013 draft of Ad Astra
              10 and almost six months after CAA received the May 22, 2015 draft of Ad Astra—
              11 during a meeting at the offices of de Passe Jones Entertainment that was allegedly
              12 attended by former CAA agent Cameron Mitchell. (SUF ¶ 5.) Jones emailed a copy
              13 of Cosmic Force to former CAA agent Cameron Mitchell on November 10, 2015,
              14 supposedly following that meeting. (SUF ¶ 6.) As the Writer Defendants
              15 conclusively demonstrate in their motion for summary judgment, by November 10,
              16 2015, much of the key creative work on Ad Astra had already been accomplished
              17 and was already embodied in the November 29, 2013 screenplay, the August 27,
              18 2014 outline, and the May 22, 2015 script written by Gray and Gross.
              19        Almost a year later, on September 23, 2016, Suzanne de Passe transmitted a
              20 copy of the Cosmic Force screenplay to CAA agent Brandon Lawrence. (SUF ¶ 7.)
              21        B.    None Of The Individuals At CAA Who Represented The Co-
              22              Writer/Director Of Ad Astra Had Access To Cosmic Force
              23        As of 2016, CAA employed over 2,100 individuals, including 200 talent
              24 agents and executives working in film and television. (SUF ¶ 2.) Nothing in the
              25 record shows that Cameron Mitchell, Cameron Mitchell’s assistant, or Brandon
              26 Lawrence discussed Cosmic Force with anyone else at CAA. To the contrary, the
              27 Cosmic Force screenplay was never uploaded to CAA’s Literary Library System
              28 repository. (SUF ¶ 8.) Neither Mitchell, his assistant, or Lawrence emailed Cosmic
                                                           5
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               1 Force to anyone else at CAA. (SUF ¶ 9.) And there is no evidence that Mitchell or
               2 Lawrence (or anyone else at CAA) discussed or shared Cosmic Force with any other
               3 defendant in this case. (SUF ¶¶ 9, 12.)
               4         Critically, neither of the CAA agents (Mitchell and Lawrence) to whom Jones
               5 and/or de Passe sent copies of Cosmic Force had any involvement in Ad Astra
               6 whatsoever, nor does Jones allege they did. (SUF ¶ 10.) Mitchell and Lawrence did
               7 not help represent any individual involved in Ad Astra, nor does Jones allege that
               8 they did. (SUF ¶ 11.)
               9         None of the individuals on the CAA team that represents Ad Astra’s co-writer
              10 and director James Gray—Roeg Sutherland, Todd Feldman, and John Garvey—ever
              11 read Cosmic Force or discussed it with Mitchell, Lawrence, or anyone else at CAA.
              12 (SUF ¶¶ 12, 14, 16.) Sutherland, Feldman, and Garvey were all unaware of the
              13 existence of the Cosmic Force screenplay prior to the initiation of this action by
              14 Jones. (SUF ¶¶ 13, 15, 17.)
              15         C.     CAA’s Role In Ad Astra Was Limited to Representing Talent
              16         CAA is a talent agency. (SUF ¶ 1.) A core function of the talent agents who
              17 staff talent agencies like CAA is to help secure and negotiate the terms of
              18 employment on behalf of their artist clients, e.g., writers, actors, directors, etc. See
              19 Cal. Labor Code § 1400.4 (defining talent agencies and artists). In consideration for
              20 their services, talent agencies generally commission a percentage of the income their
              21 clients earn from each engagement the talent agency helped to procure and/or
              22 negotiate. See, e.g., Sonnenfeld v. United Talent Agency, Inc., No. CV-1203560-
              23 SJO-SHX, 2012 WL 12884459, at *2 (C.D. Cal. Aug. 22, 2012) (confirming
              24 arbitration award entitling talent agency to a 10% commission on filmmaker’s
              25 income derived from a project procured by the talent agency).
              26         The only compensation CAA received in connection with Ad Astra was
              27 CAA’s traditional contractual commissions on the income its clients earned from
              28 their work on that film; i.e., a percentage of James Gray’s earnings from Ad Astra,
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               1 as well as the earnings of a few actors who appeared in the film. (SUF ¶ 18.) CAA
               2 did not “package” Ad Astra as Jones alleges. (SUF ¶ 19.) CAA did not act as a sales
               3 agent for Ad Astra. (SUF ¶ 20.) Nor did CAA distribute Ad Astra. (SUF ¶ 21.)
               4          As such, CAA had no right, contractually or as a practical matter, to supervise
               5 or control the writing, production, or distribution of Ad Astra. Accordingly, no CAA
               6 employees in fact supervised or controlled the production or distribution of the Ad
               7 Astra film. (SUF ¶ 22.) Nor did any CAA employees produce or promote the Ad
               8 Astra trailers. (SUF ¶ 23.)
               9          In summary, CAA’s role with respect to Ad Astra was limited to representing
              10 talent who worked on the film in exchange for a commission on the income that
              11 those clients earned from it.
              12 III.     LEGAL STANDARD
              13          Summary judgment is appropriate when there is no genuine issue of material
              14 fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.
              15 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). “The burden
              16 on the moving party may be discharged by ‘showing’ – that is, pointing out to the
              17 district court – that there is an absence of evidence to support the nonmoving party’s
              18 case.” Celotex, 477 U.S. at 325. “Once the moving party satisfies this initial burden,
              19 ‘an adverse party may not rest upon the mere allegations or denials of the adverse
              20 party’s pleadings. . . . The adverse party’s response . . . must set forth specific facts
              21 showing that there is a genuine issue for trial. . . . The mere existence of a scintilla
              22 of evidence in support of the plaintiff’s position [is] insufficient; there must be
              23 evidence on which a reasonable jury could reasonably find for the plaintiff.” Sony
              24 Pictures Ent., Inc. v. Fireworks Ent. Group, Inc., 156 F. Supp. 2d 1148, 1152 (C.D.
              25 Cal. 2001) (“Rule 56 requires entry of summary judgment against a party who fails
              26 to make a showing sufficient to establish the existence of an element essential to that
              27 party’s case, and on which that party will bear the burden of proof at trial.”).
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               1 IV.     ARGUMENT
               2         A.    Jones Admitted He Cannot Prove His Claims Against CAA By
               3               Failing to Timely Respond to Requests for Admission
               4         Jones initiated this baseless litigation, and not only has he come up entirely
               5 empty-handed with any evidence that would support CAA’s continued participation
               6 as a defendant in the case, he has also shirked his own discovery obligations in
               7 violation of the Federal Rules of Civil Procedure. The consequences of Jones’s lack
               8 of diligence are very clear under the Rules and, as explained below, they support the
               9 dismissal of Jones’s claims.
              10         “A matter is admitted unless, within 30 days after being served, the party to
              11 whom the request is directed serves on the requesting party a written answer or
              12 objection addressed to the matter and signed by the party or its attorney.” Fed. R.
              13 Civ. P. 36(a)(3). Thus, a late served response to requests for admissions results in
              14 the requests being “admitted without the need for any further action by the court or
              15 the parties.” Layton v. Int’l Ass’n of Machinists & Aerospace Workers, 285 F. App’x
              16 340, 341 (9th Cir. 2008) (“The district court did not err when it deemed facts
              17 admitted because of [plaintiff]’s failure to timely respond to requests for
              18 admission.”) (citing F.T.C. v. Medicor LLC, 217 F. Supp. 2d 1048, 1053 (C.D. Cal.
              19 2002) (“No motion to establish the admissions is needed because Federal Rule of
              20 Civil Procedure 36(a) is self-executing.”)).
              21         A district court may properly rely on facts deemed admitted under Rule 36(a)
              22 as a basis for summary judgment. Id.; Seymour v. McLane Co., 519 F. App’x 489
              23 (9th Cir. 2013) (“[U]nanswered requests for admission, or untimely and deficient
              24 responses to the same, may be relied on as the basis for granting summary
              25 judgment.”); In re Heritage Bond Litig., 220 F.R.D. 624, 626 (C.D. Cal. 2004)
              26 (“[D]efendant responded 12 days late to class plaintiffs’ first set of requests for
              27 admissions. For this reason alone, all ten requests for admissions in the first set of
              28 requests for admissions should be deemed admitted.”).
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               1         CAA served its first set of Requests for Admissions (“RFAs”) on Jones on
               2 January 24, 2022. (SUF ¶ 25.) Jones’s responses to the RFAs were due by February
               3 23, 2022, but Plaintiff did not respond until March 7, 2022. (SUF ¶ 26.) Jones never
               4 sought an extension on his deadline to respond to the RFAs. (SUF ¶ 27.) Jones also
               5 did not file any motion seeking relief from having the RFAs deemed admitted as a
               6 result of his late response. (SUF ¶ 28.) CAA pointed out in a meet and confer letter
               7 to Jones dated March 13, 2022 that all of Jones’s discovery responses, including the
               8 RFA responses, were served late. (SUF ¶ 29.) Still Jones did not seek any relief.
               9 (SUF ¶ 30.)
              10         As a result, Jones has admitted CAA’s request for admission that CAA did
              11 not infringe or otherwise impermissibly copy Cosmic Force. (SUF ¶ 31.) Jones has
              12 further admitted that CAA never had a supervisory relationship with any other
              13 defendant in this action. (SUF ¶ 32.) Jones also admitted that Cosmic Force is not
              14 substantially similar to any Ad Astra screenplay, film, or trailer. (SUF ¶ 33.) These
              15 admissions are fully dispositive of Jones’s claims for copyright infringement,
              16 vicarious infringement and contributory infringement. Fed. R. Civ. P. 36(a)(3).
              17         Jones has further admitted that he never discussed compensation with CAA
              18 for the use of Cosmic Force. (SUF ¶ 34.) He has also admitted there was no
              19 discussion of confidentiality at his alleged meeting with CAA. (SUF ¶ 35.) These
              20 admissions mean that Jones cannot prove essential elements of his breach of implied
              21 contract claim.
              22         Summary judgment should be granted for CAA due to Jones’s admissions
              23 that essential elements of each cause of action he alleged against CAA have not
              24 been met. However, even if the Court continues its analysis, it will find, as detailed
              25 below, that it should also dismiss the claims against CAA because there is no
              26 evidence in the record to support them.
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              28
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               1           B.     Jones’ Copyright Claims Fail
               2                  1.    Jones Fails To Establish That Anyone Involved In The
               3                        Creation Of Ad Astra Had Access To Cosmic Force.
               4           “Independent creation is a complete defense to copyright infringement.”
               5 Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051, 1064
               6 (9th Cir. 2020); see also Fodor v. Time Warner, Inc., 19 F.3d 27 (9th Cir. 1994)
               7 (“Even if two works are substantially similar, . . . there is no infringement liability if
               8 the challenged work was independently created.”). Accordingly, “in the absence of
               9 direct evidence of copying,” a plaintiff must “show[] that the defendant had access
              10 to the plaintiff’s work and that the two works share similarities probative of
              11 copying.” Skidmore, 952 F.3d at 1064 (emphasis added).
              12           To establish access, there “must be a reasonable possibility” that the alleged
              13 infringer “view[ed] the plaintiff’s work—not a bare possibility.” Three Boys Music
              14 Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir. 2000), overruled on other grounds by
              15 Skidmore, 952 F.3d at 1069.4 Such reasonable possibility “does not encompass any
              16 bare possibility in the sense that anything is possible.” Id. “Access may not be
              17 inferred through mere speculation or conjecture.” Id. (emphasis added). Thus, “[i]n
              18 order to support a claim of access,”—and avoid summary judgment—“a plaintiff
              19 must offer ‘significant, affirmative and probative evidence’” of access. Bernal, 788
              20 F. Supp. 2d at 1054 (granting summary judgment in favor of defendant talent
              21 agency) (quoting Jorgensen v. Epic/Sony Records, 351 F.3d 46, 51 (2d Cir. 2003)).
              22           This district has clearly articulated the specific factual showing that a plaintiff
              23 must make to avoid summary judgment where the plaintiff’s theory of infringement
              24
              25   4
                       In Skidmore, an en banc panel of the Ninth Circuit abrogated this Circuit’s former
              26       “inverse ratio” rule, which has no application here. 952 F.3d at 1079. Three Boys
                       Music remains good law apart from its discussion of the inverse ratio rule. See
              27       Gray v. Hudson, 28 F.4th 87, 97 (9th Cir. 2022) (citing Three Boys Music and
              28       recognizing its overruling on other grounds).
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               1 relies, as Jones does here, on allegations that (1) plaintiff provided the allegedly
               2 copied work to a business entity, such as a talent agency, and (2) that business entity
               3 was connected to the allegedly infringing work.
               4            It is well-established that a plaintiff “cannot create a triable issue of access
               5 merely by showing ‘bare corporate receipt’ of her work by an individual who shares
               6 a common employer with the alleged copier.” 5 Bernal, 788 F. Supp. 2d at 1056
               7 (citations omitted). “Instead, to avoid summary judgment, a plaintiff must show that
               8 he submitted his work to an intermediary who is in a position to transmit the
               9 plaintiff’s work to the creators of the infringing work. The intermediary can be a
              10 person who (1) has supervisory responsibility for the allegedly infringing project,
              11 (2) contributed ideas and materials to it, or (3) worked in the same unit as the
              12 creators.” Id. (citations omitted, emphasis in original). “In sum, the plaintiff must
              13 show a sufficient nexus between the individual who possesses knowledge of a
              14 plaintiff’s work and the creator of the allegedly infringing work.” (Id.) (internal
              15 quotation marks and citations omitted).
              16            The facts of Bernal are strikingly similar to the facts of this case—and as in
              17 Bernal, there is no nexus between the individuals who received the allegedly copied
              18 work and those who created the allegedly infringing work. In Bernal, the plaintiff
              19 submitted a screenplay, titled Homeless, to Andrew Ruf, a talent agent at Paradigm
              20 Talent Agency and Literary Agency (“Paradigm”). Id. at 1049. The series Desperate
              21 Housewives was later released on television, and the plaintiff claimed that the series
              22 was copied from her Homeless screenplay. Ibid. A different agent at Paradigm,
              23 Andrew Patman, represented Marc Cherry, the creator of Desperate Housewives. Id.
              24 “Paradigm also ‘packaged’ the Desperate Housewives series by attaching two of the
              25 actors represented by Paradigm, Teri Hatcher and Dana Delaney, to star in the
              26 series.” Id.
              27
                   5
              28       CAA, of course, does not and did not employ any party to this litigation.
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               1         The writer of Homeless sued Paradigm for copyright infringement on the
               2 theory that “Defendants’ access to Homeless can be inferred through . . .
               3 collaboration” among talent agents at Paradigm. Id. at 1054. Plaintiff argued that
               4 because Paradigm was a relatively small agency and because Paradigm packaged
               5 Desperate Housewives and represented its creator, two of its lead actors, and its
               6 executive producers, “Ruf could have given Homeless to Patman, who had a close
               7 relationship with [the Desperate Housewives creator] Cherry and assisted him in the
               8 development of Desperate Housewives.” Id.
               9         The Court rejected this theory. It held that, “[h]ere, Plaintiff submitted her
              10 work to Ruf at Paradigm. Ruf is not Cherry’s agent, and there is no evidence that
              11 Ruf had any contact with Cherry. Further, there is no evidence that Ruf had any
              12 supervisory responsibility for Desperate Housewives or any involvement with the
              13 creation of the series at any time.” Id. at 1057. The Court also held that despite the
              14 fact that Paradigm was a relatively small agency and that Ruf and Patman worked
              15 together and had known each other for 10 years, “there is nothing in Ruf’s and
              16 Patman’s relationship” as colleagues at Paradigm “to indicate, beyond pure
              17 speculation, that Ruf passed the Homeless script onto Patman and/or Cherry.” Id. at
              18 1058. The Court therefore granted summary judgment in favor of Paradigm, because
              19 “[o]ther than the fact that Ruf and Patman worked for the same company, there is no
              20 evidence that would permit an inference of access.” Id.
              21         Other cases considering a similar fact pattern have all reached the same
              22 conclusion: to escape summary judgment, a plaintiff must provide evidence
              23 affirmatively connecting the individual who received the allegedly copied work with
              24 an intermediary who had control over the allegedly infringing work. For example, in
              25 the same year Bernal was decided, another Court of this district reached the exact
              26 same conclusion, holding that the receipt of a screenplay by a talent agency was “far
              27 too attenuated and speculative to support an inference of access” by another client of
              28 that agency. Gable v. Nat’l Broad. Co., 727 F. Supp. 2d 815, 828 (C.D. Cal. 2010).
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               1 That theory, rejected in both Bernal and Gable, is what Jones is alleging here: that
               2 receipt of a script by Mitchell and Lawrence supports an inference of access by an
               3 entirely unrelated CAA client, Ad Astra co-writer and director James Gray.
               4         Other decisions on similar theories by plaintiffs all resulted in dismissal on
               5 summary judgment. See, e.g., Meta-Film Assocs., Inc. v. MCA, Inc., 586 F. Supp.
               6 1346, 1357-58 (C.D. Cal. 1984) (summary judgment granted in favor of studio
               7 defendant where the plaintiff showed his work to a director who was under contract
               8 with the studio and worked on the studio lot, but could not demonstrate any
               9 connection between the recipient and the studio’s allegedly infringing project);
              10 Jones v. Blige, 558 F.3d 485, 491 (6th Cir. 2009) (holding that submission of a
              11 demo CD to a record label was insufficient evidence of access by other artists who
              12 had dealings with that label); Jorgensen v. Epic/Sony Recs., 351 F.3d 46, 52-53 (2d
              13 Cir. 2003) (affirming grant of summary judgment in favor of defendants where
              14 plaintiff presented no evidence that those who did receive his work had any
              15 relationship with the creators of the allegedly infringing work).
              16         Here, the undisputed facts are even less favorable to Jones than they were to
              17 the plaintiff in Bernal. There is absolutely no evidence that CAA agents Cameron
              18 Mitchell or Brandon Lawrence ever had any contact with the writers of Ad Astra
              19 (James Gray and Ethan Gross), or with anyone involved in the creation of Ad Astra—
              20 much less served as “intermediaries” with supervisory responsibility over them. See
              21 Bernal, 788 F. Supp. 2d at 1057 (“Ruf is not Cherry’s agent, and there is no evidence
              22 that Ruf had any contact with Cherry. Further, there is no evidence that Ruf had any
              23 supervisory responsibility for Desperate Housewives or any involvement with the
              24 creation of the series at any time.”).
              25         And Roeg Sutherland, Todd Feldman, and John Garvey, the CAA agents who
              26 represented Ad Astra co-writer and director James Gray, were never provided a copy
              27 of Cosmic Force, never discussed Cosmic Force with Mitchell or Lawrence, and were
              28 otherwise completely unaware of the existence of the Cosmic Force screenplay until
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               1 the initiation of this lawsuit. (SUF ¶¶ 8-17.)
               2         Additionally, the CAA agents who represented James Gray had dramatically
               3 less involvement in the creation of Ad Astra than Paradigm did in the creation of
               4 Desperate Housewives. Paradigm “packaged” Desperate Housewives and it was
               5 admitted that Paradigm “control[ed] one or more of the integral elements of the
               6 show.” Bernal, 788 F. Supp. 2d at 1049 n.3 (modifications in original). Here, CAA
               7 did not have any right to supervise or control the content or substantive elements of
               8 Ad Astra. (SUF ¶¶ 18-23.)
               9         In sum, the only facts to which Jones can point are (1) he submitted his script
              10 to two agents at CAA, and (2) entirely different agents at CAA interacted with the
              11 co-writer and director of Ad Astra. Under Bernal and the authorities cited above,
              12 these facts are insufficient as a matter of law to support a claim that the creators of
              13 Ad Astra (namely, Gray) had access to the allegedly infringed Cosmic Force.
              14 Accordingly, because Jones cannot “show[] that the defendant had access to the
              15 plaintiff’s work,” CAA is entitled to summary judgment in its favor on Jones’s
              16 copyright infringement claims. Skidmore, 952 F.3d at 1064
              17               2.     Jones Fails To Establish That CAA Had Any Involvement In
              18                      Ad Astra Other Than Representing Its Co-Writer/Director
              19                      And A Few Actors.
              20                      (a)    CAA did not directly infringe Cosmic Force.
              21         Even assuming arguendo that Ad Astra copies protectable elements of Cosmic
              22 Force (which it does not), and independent of the fact that the CAA agents
              23 representing Gray had no access to Cosmic Force, CAA was not involved in any
              24 alleged copying because CAA did not create Ad Astra and had no right to control or
              25 supervise the film’s creation.
              26         “To establish a prima facie case of direct infringement, a plaintiff must show
              27 ownership of the allegedly infringed material and demonstrate that the alleged
              28 infringers violated at least one exclusive right granted to copyright holders under 17
                                                            14
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               1 U.S.C. § 106. . . . In addition, direct infringement requires the plaintiff to show
               2 causation (also referred to as ‘volitional conduct’) by the defendant.” Perfect 10,
               3 Inc. v. Giganews, Inc., 847 F.3d 657, 666 (9th Cir. 2017) (internal quotation marks
               4 and citations omitted); see also Online Policy Group v. Diebold, Inc., 337 F. Supp.
               5 2d 1195, 1199 (N.D. Cal. 2004) (“To be liable for direct infringement, one must
               6 ‘actively engage in’ and ‘directly cause’ the copying.”).
               7         Jones baselessly alleges in his Fourth Amended Complaint that “the movie Ad
               8 Astra was financed and produced” by CAA (in addition to the other Defendants),
               9 that CAA and the other Defendants “produced” trailers of Ad Astra, and that CAA
              10 conducted sales of the movie Ad Astra “as a Sales Representative.” (FAC ¶ 13.)
              11 Jones further asserts that CAA “released the movie Ad Astra.” (FAC ¶ 42.)
              12         The problem for Jones is that none of those allegations are true. CAA did not
              13 finance, produce, distribute, or serve as a “sales representative” for Ad Astra. (SUF
              14 ¶¶ 18-23.) CAA’s role on Ad Astra was limited to acting as a talent agent for the
              15 film’s co-writer/director and certain members of the cast. (SUF ¶ 18.) There is no
              16 admissible evidence that CAA either actively engaged in and directly caused any
              17 copying of Plaintiff’s script or violated Plaintiff’s copyright in any manner.
              18 Accordingly, CAA is entitled to summary judgment because there is no evidence
              19 that CAA directly infringed on Jones’s script.
              20                      (b)   CAA did not contribute to any infringement of Cosmic
              21                            Force.
              22         To prevail on a claim for contributory copyright infringement, a plaintiff must
              23 demonstrate that a defendant “(1) has knowledge of another’s infringement and
              24 (2) either (a) materially contributes to or (b) induces that infringement.” Perfect 10,
              25 847 F.3d at 670; see also Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142, 1147
              26 (9th Cir. 2018) (“We have adopted the well-settled rule that ‘[o]ne infringes
              27 contributorily by intentionally inducing or encouraging direct infringement.’”). Even
              28 assuming arguendo that the writers and/or studio distributor of Ad Astra somehow
                                                         15
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               1 directly infringed on Jones’s copyrights in Cosmic Force, Jones falls far short of
               2 establishing disputed facts that would support a claim against CAA for contributory
               3 infringement.
               4         As explained in detail above, the undisputed evidence shows that while Jones
               5 sent Cosmic Force to two agents at CAA (Mitchell and Lawrence), neither of those
               6 individuals had any involvement in the creation or production of Ad Astra. (SUF ¶
               7 10.) And Sutherland, Feldman, and Garvey, the CAA agents who represented Ad
               8 Astra’s co-writer and director, never had access to Cosmic Force. (SUF ¶¶ 8-17.)
               9 Nor did Mitchell or Lawrence ever discuss Cosmic Force with Sutherland, Feldman,
              10 or Garvey. (SUF ¶ ¶ 12, 14, 16.)
              11         It is therefore undisputed that (1) CAA did not provide Cosmic Force to the
              12 other defendants in this action; (2) CAA had no knowledge of any alleged
              13 “infringement” of Cosmic Force by any other defendant; (3) CAA did not
              14 “materially contribute” to any alleged infringement of Cosmic Force; and (4) CAA
              15 did not “induce” or “encourage” any other defendant to infringe Cosmic Force.
              16 Jones therefore fails to create a triable issue of fact regarding any alleged
              17 contributory infringement by CAA.
              18                      (c)    CAA did not vicariously infringe Cosmic Force.
              19         CAA further cannot be vicariously liable for infringement of Cosmic Force
              20 because CAA did not have a supervisory relationship over the alleged direct
              21 infringers. A defendant is vicariously liable for copyright infringement only “if he
              22 enjoys a direct financial benefit from another’s infringing activity and has the right
              23 and ability to supervise the infringing activity.” Ellison, 357 F.3d at 1076 (emphasis
              24 added, internal quotation marks and citation omitted). The Ninth Circuit has held
              25 that “[v]icarious copyright liability is an ‘outgrowth’ of respondeat superior,” and
              26 that as such, the right to supervise and control the alleged infringing activity is
              27 necessary to support a claim of vicarious liability. See A&M Recs., Inc. v. Napster,
              28 Inc., 239 F.3d 1004, 1022 (9th Cir. 2001).
                                                          16
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               1           Here, even if CAA commissioned certain individuals’ income derived from
               2 Ad Astra, the undisputed facts show that CAA had no supervision or control over
               3 the writers, producers, or studio distributors of Ad Astra. (SUF ¶¶ 18-23.) Thus,
               4 even if Ad Astra infringes on Cosmic Force (which it does not), Jones fails to create
               5 a triable issue of fact that could support a claim of vicarious liability against CAA.
               6           C.     Jones’s Breach Of Contract Claim Fails
               7                  1.    Jones Has No Evidence Of Access To Cosmic Force By
               8                        Anyone Involved In Ad Astra.
               9           Jones’s breach of implied contract, i.e., “idea theft”, claim fails for largely the
              10 same reasons as does his copyright infringement claim. To prevail on a claim for
              11 breach of implied contract based on submission of a screenplay, a plaintiff must
              12 establish that: “(1) they submitted the [s]creenplay for sale to [defendant]; (2) they
              13 conditioned the use of the [s]creenplay on payment; (3) [defendant] knew or should
              14 have known of the condition; (4) [defendant] voluntarily accepted the [s]creenplay;
              15 (5) [defendant] actually used the [s]creenplay; and (6) the [s]creenplay had value.”
              16 Benay v. Warner Bros. Ent., 607 F.3d 620, 629 (9th Cir. 2010), overruled, in part,
              17 on other grounds by Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin,
              18 952 F.3d 1051 (9th Cir. 2020) (en banc) (citations omitted).6 California law further
              19 requires “that there be an expectation on both sides that use of the idea requires
              20 compensation” in order to state a claim for breach of implied contract based on
              21 “idea theft.” Montz v. Pilgrim Films & Television, Inc., 649 F.3d 975, 976 (9th Cir.
              22 2011).
              23           Importantly, California courts have also held that “[t]he framework for
              24 proving use in an idea submission claim is parallel to the framework for showing
              25 copying in a copyright claim.” Spinner v. Am. Broad. Companies, Inc., 215
              26 Cal.App.4th 172, 186 (2013). To prevail on an idea theft claim, a plaintiff must
              27
                   6
              28       See supra Note 4, discussing the holding in Skidmore.
                                                               17
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               1 therefore show that the alleged infringer had access to the allegedly infringing work.
               2 Id. (citing federal copyright cases concerning access); see also Hollywood
               3 Screentest of Am., Inc. v. NBC Universal, Inc., 151 Cal. App. 4th 631, 648 (2007)
               4 (affirming summary judgment in defendant studio’s favor and rejecting invitation to
               5 “draw inferences based on general similarities and timing” where “Appellants point
               6 to no evidence that NBC actually used their ideas”).
               7         In Spinner, the California Court of Appeal affirmed the Superior Court’s
               8 grant of summary judgment in defendant American Broadcasting Companies’
               9 (“ABC”) favor, holding that plaintiff’s evidence of access was “insufficient as a
              10 matter of law because he relie[d] on a bare possibility of theoretical access premised
              11 on mere speculation.” Id. at 187. In that case, plaintiff submitted a script entitled
              12 “L.O.S.T.” to ABC in 1977. Id. at 175. The plaintiff’s “theory of access [was] that
              13 the ABC drama development executives who were involved in the creation of LOST
              14 . . . had a reasonable opportunity to view the 1977 Script because ABC had a policy
              15 of permanently retaining unreturned scripts, and the script must have been present
              16 somewhere in a ‘script library’ at ABC.” Id. at 187. The Court of Appeal held that
              17 such a connection was “speculation, conjecture, or guess work,” and also that “the
              18 nexus between the people to whom [plaintiff] Spinner submitted his work and the
              19 actual creators of LOST does not remotely approach strong.” Id. at 185, 187.
              20         Because Jones’s copyright claims must fail for lack of evidence of access to
              21 Cosmic Force by anyone connected to Ad Astra, so too must Jones’s breach of
              22 contract claim fail. The crux of Jones’s implied contract claim is the allegation that
              23 CAA and the other defendants in this action “impliedly agreed to hold the business
              24 discussions regarding the Script in confidence, to only share the confidential
              25 information with others for the purpose of evaluating a business opportunity with
              26 Plaintiff and to compensate Plaintiff and de Passe Jones Entertainment if the Script
              27 Cosmic Force was licensed, sold or used by Defendants.” (FAC ¶ 80.)
              28         Jones alleges a breach by CAA “upon information and belief” only; he alleges
                                                         18
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               1 that “CAA ha[s] shared Plaintiff’s confidential business information with others,
               2 including Defendants RT Features, RT Features US, James Gray and Ethan Gross.”
               3 (FAC ¶ 81.) The undisputed evidence shows, however, that this never happened (as
               4 discussed extensively above).
               5        Jones also alleges that “CAA[] used and profited from the use of[] Plaintiff’s
               6 copyrighted work Cosmic Force.” (FAC ¶ 83.) Again, as explained in the preceding
               7 sections, there is absolutely zero evidence that the two CAA agents to whom Jones
               8 transmitted Cosmic Force ever shared that script with anyone, much less used the
               9 script. See Benay, 607 F.3d at 629 (holding that an implied contract claim based on
              10 screenplay submission requires a showing that “Defendants actually used the
              11 [s]creenplay”). Thus, even assuming arguendo that CAA entered into an implied
              12 contract with Jones, because Jones has no evidence whatsoever that CAA breached
              13 the alleged terms of that contract by sharing or using Cosmic Force, Jones’s implied
              14 contract claim fails on summary judgment.
              15               2.    Jones Does Not And Cannot Allege That CAA Offered To
              16                     Compensate Him Directly.
              17        Jones’s implied contract claim against CAA also fails because nowhere does
              18 Jones allege that he reasonably expected CAA, a talent agency, to directly
              19 compensate him. Nor could Jones make such an outlandish allegation. Jones is, by
              20 his own description, a sophisticated party: he is an Emmy-nominated veteran
              21 entertainment industry executive. (FAC ¶ 1.) Jones alleges that he met with Mitchell
              22 in 2015 to seek CAA’s potential assistance with “the licensing and sale of the
              23 [Cosmic Force] Script.” (FAC ¶ 23.) Jones does not go so far as to allege, in his
              24 complaint or in his deposition testimony, that he ever expected to be compensated
              25 directly by CAA. (Id.; SUF ¶ 24.) This is because Jones knows that, to put it bluntly,
              26 artists pay talent agencies like CAA for their services—not the other way around.
              27 Thus, regardless of whether Jones was seeking CAA’s direct representation to help
              28 sell the script outright, CAA’s assistance and services in packaging the script with
                                                           19
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               1 potential directors, actors, or other talent, or CAA’s help to secure financing to
               2 develop and produce the script, Jones does not and cannot plausibly allege that he
               3 reasonably expected to be directly compensated in any way by CAA. Accordingly,
               4 because Jones does not and cannot allege an obligation owed by CAA to
               5 compensate Jones for Cosmic Force in any way, Jones’s breach of contract claim
               6 must fail.
               7 V.     CONCLUSION
               8        For the foregoing reasons, Defendant CAA respectfully requests that the
               9 Court grant its Motion in its entirety and enter summary judgment in CAA’s favor
              10 on all claims asserted by Jones.
              11 DATED: May 31, 2023                         EISNER, LLP
              12
              13
                                                       By:
              14
                                                             JEREMIAH REYNOLDS
              15                                             Attorneys for Defendant,
              16                                             Creative Artists Agency, LLC

              17
              18          STATEMENT OF COMPLIANCE WITH LOCAL RULE 11-6.1
              19        The undersigned, counsel of record for Creative Artists Agency, LLC,
              20 certifies that this Memorandum of Points and Authorities contains 6,520 words,
              21 which complies with the word limit of Local Rule 11-6.1.
              22 DATED: May 31, 2023                         EISNER, LLP
              23
              24
                                                       By:
              25
                                                             JEREMIAH REYNOLDS
              26                                             Attorneys for Defendant,
                                                             Creative Artists Agency, LLC
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                                                             20
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                                        MEMORANDUM OF POINTS AND AUTHORITIES
